
USCA1 Opinion

	













                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1641

                      FEDERAL DEPOSIT INSURANCE CORPORATION, AS
                      RECEIVER OF NEW BANK OF NEW ENGLAND, N.A.,

                                 Plaintiff, Appellee,

                                          v.

                   DONALD L. LEBLANC AND LEBLANC ASSOCIATES, INC.,

                               Defendants, Appellants.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                 Selya, Circuit Judge,
                                        _____________
                            Bownes, Senior Circuit Judge,
                                    ____________________
                              and Boudin, Circuit Judge.
                                          _____________

                                 ____________________

            Robert B. Fredericks for appellants.
            ____________________
            Lawrence  H. Richmond,  with whom  Ann  S.  DuRoss and  Colleen B.
            _____________________              _______________      __________
        Bombardier were on brief for appellee.
        __________


                                 ____________________

                                     June 6, 1996
                                 ____________________






















                      BOWNES, Senior Circuit Judge.  This appeal concerns
                      BOWNES, Senior Circuit Judge.
                              ____________________

            federal banking  law and  the scope of  the federal  estoppel

            doctrine  established  by  the  Supreme  Court's  decision in

            D'Oench, Duhme &amp;  Co. v. FDIC,  315 U.S. 447  (1942), and  12
            _____________________________

            U.S.C.     1823(e).   Defendant-appellant  Donald  L. LeBlanc

            seeks  review  of the  district  court's  order granting  the

            FDIC's motion for  summary judgment.  The district court held

            that  the  defenses  and  counterclaims   LeBlanc  raised  in

            response  to  the  FDIC's  affirmative suit  to  recover  the

            deficiency  owed  on  a mortgage  note  he  and his  company,

            LeBlanc  Associates,  (collectively  "LeBlanc")  executed  on

            January 5,  1989, were barred  by both Massachusetts  law and

            the  D'Oench doctrine.    We  affirm  this decision,  but  on
                 _______

            slightly  different grounds  than  those  articulated by  the

            district   court.     Title   28  U.S.C.      1291   provides

            jurisdiction.          

                                          I.
                                          I.

                                      BACKGROUND
                                      BACKGROUND
                                      __________

                      For the purpose of  reviewing the district  court's

            grant  of summary  judgment, we  summarize  the facts  in the

            light most favorable to the nonmoving party.  Levy v. FDIC, 7
                                                          ____________

            F.3d 1054, 1056 (1st Cir. 1993).  In 1987, appellant acquired

            the 54-acre parcel at issue in this case.   The parcel, which

            is located in Falmouth,  Massachusetts, and abuts a 900-acre,

            partially-completed,  residential  community called  Falmouth



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            Woods, is accessible by  only one road, Falmouth  Woods Road.

            Though appellant purchased the parcel without first obtaining

            a  right  of way  over Falmouth  Woods  Road, his  intent was

            ultimately  to acquire  such an easement  and to  develop his

            parcel   into  a  six-lot,   multifamily  subdivision  called

            Prospect Hills.  At the time LeBlanc purchased  the property,

            both the Falmouth Woods  development and Falmouth Woods Road,

            which  fronts  the LeBlanc  parcel's  western  boundary, were

            owned by the Falmouth Woods Development Corporation ("FWDC"),

            a Massachusetts corporation.

                      On January  5, 1989, to finance  development of the

            Prospect Hills  parcel, LeBlanc  obtained a $750,000.00  loan

            from  the Bank of New England South, N.A., which later merged

            into Bank of New England, N.A. ("BNE").  The loan, which both

            parties agree was not conditioned upon LeBlanc's acquiring an

            easement  across  Falmouth  Woods  Road,  was  secured  by  a

            personal guaranty note executed by LeBlanc and  a mortgage on

            the 54-acre parcel.   Payment on the note  was to be monthly,

            beginning in February  of 1989, with  the provision that  the

            principal balance, plus accrued  and unpaid interest, were to

            be paid by January 4, 1992.     

                      LeBlanc  obtained  approval and  a  permit  for the

            Prospect  Hills subdivision from  the Falmouth Planning Board

            and, in  the Fall of 1989, began meeting with FWDC to discuss

            securing  access rights  over  Falmouth Woods  Road.   During



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            negotiations,  FWDC  verbally  agreed  to  grant  LeBlanc  an

            easement for utilities and right of way across Falmouth Woods

            Road.   A written agreement regarding  the easement, however,

            was never prepared.  Before the sale of the easement could be

            recorded, FWDC began experiencing financial  difficulties and

            filed for Chapter 11 bankruptcy in March of 1990.  

                      BNE,  which had  loaned FWDC  $28 million  prior to

            extending LeBlanc the loan to develop Prospect  Hills and, as

            a  result, held  a mortgage  in the Falmouth  Woods property,

            sought and obtained relief from the  automatic stay placed on

            FWDC's  estate as  a result  of the  bankruptcy filing.   BNE

            operated  the  Falmouth  Woods  property as  a  mortgagee  in

            possession, briefly continuing service  at the Falmouth Woods

            golf  course, and  tried to  sell Falmouth  Woods subdivision

            lots.   It eventually  foreclosed  its mortgage and purchased

            the  property at  the subsequent  foreclosure sale.   Because

            FWDC's mortgage did not include the fee  interest in Falmouth

            Woods Road, the foreclosure sale purchase left BNE with title

            to Falmouth Woods and  an easement over Falmouth  Woods Road.

            The fee  interest in  the road remained  with the  bankruptcy

            trustee assigned to manage FWDC's assets.

                      The Falmouth Woods  property changed hands  several

            times  after  BNE's   foreclosure-sale  purchase,   thwarting

            LeBlanc's efforts  to obtain an easement  over Falmouth Woods

            Road.  In  September 1990, BNE transferred the Falmouth Woods



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            property   to  its  wholly-owned  subsidiary,  Falmouth  Land

            Company ("FLC").   In  January 1991, the  Comptroller of  the

            Currency of the United States of America ("COC") declared BNE

            insolvent  and appointed the FDIC  receiver of BNE.   The COC

            also chartered  the New Bank  of New England,  N.A. ("NBNE"),

            pursuant to 12 U.S.C.   1821(n), as  a bridge bank to acquire

            the assets formerly held  by BNE.   Thus, NBNE held title  to

            the FWDC property, as well as LeBlanc's  $750,000.00 note and

            guaranty from January to July of 1991.  

                      On  July  13,  1991,  the COC  dissolved  NBNE  and

            appointed  the FDIC as receiver  of the bank,  pursuant to 12

            U.S.C.   1821(n)(12).  The  FDIC then acquired Falmouth Woods

            and  assumed the note and the mortgage on the LeBlanc parcel.

            On August 13,  1991, the FDIC took title to  the fee interest

            in  Falmouth  Woods  Road  in  the  name  of  FLC,  the  NBNE

            subsidiary.  NBNE  had purchased the fee interest in Falmouth

            Woods Road from the FWDC's bankruptcy trustee in May 1991.  

                      LeBlanc pursued his  easement request with  each of

            Falmouth Woods's  owners because  the Prospect Hills  parcel,

            initially appraised at $1,980,000.00, was virtually worthless

            without  access to  Falmouth Woods  Road.   Negotiations with

            BNE,  FLC, and Oak Tree Capitol ("Oak Tree"), a company which

            functioned  as  asset manager  for  both  FLC and  BNE,  were

            unsuccessful.   Attempts to obtain  a right of  way from NBNE

            and the  FDIC were also unsuccessful,  primarily because both



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                                          5















            entities   engaged   in  actions   which   blocked  LeBlanc's

            acquisition efforts.    NBNE contested  LeBlanc's efforts  to

            resolve his road access problems through direct  negotiations

            with   the  FWDC   bankruptcy  trustee  and   was  ultimately

            successful  in outbidding  LeBlanc  for the  fee interest  in

            Falmouth Woods  Road.   According to LeBlanc,  NBNE officials

            also  misrepresented the  fact that  they were  marketing the

            Falmouth  Woods  property without  reservation  of  rights or

            notice  of  claims.     LeBlanc  further  asserts  that  NBNE

            attempted to accelerate payment  on his note by  declining to

            honor a  loan commitment made to  another LeBlanc development

            entity, DDM  Development Corporation  ("DDM"), and making  an

            easement across Falmouth Woods Road contingent upon increased

            collateralization of  the note  or a reduction  in principal.

            LeBlanc  imputes a  similar  bad intent  to  the FDIC,  which

            failed to convey him an easement during work-out negotiations

            on the note.   

                      Payments on LeBlanc's $750,000.00 note were current

            and regular until the Fall of 1991.  Then, in  a November 13,

            1991,  letter, LeBlanc informed the FDIC, which held title to

            Falmouth Woods and Falmouth Woods Road at that time, that its

            refusal  to convey  the  requested easement  entitled him  to

            discontinue  payments on  the  $750,000.00 note  and that  he

            would  not  resume payments  until  the  easement matter  was

            resolved.  On  November 21, 1991, the FDIC made  a demand for



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                                          6















            full payment of the  outstanding note balance.   When LeBlanc

            failed  to make the requested payment, the FDIC, on August 7,

            1992,  foreclosed and  sold the  Prospect Hills  property for

            $235,000.00 at  auction.   Appellant's son, Mark  LeBlanc, as

            Trustee  of   the  McAuliffe  Nominee  Trust,  purchased  the

            property.  The deficiency due on LeBlanc's note,  the subject

            of the instant appeal, has not yet been paid.

                                         II.
                                         II.

                                  PROCEDURAL HISTORY
                                  PROCEDURAL HISTORY
                                  __________________

                      On June 19, 1992,  the FDIC filed an action  in the

            District Court for the District of Massachusetts, seeking the

            deficiency balance  on LeBlanc's note.   On August  21, 1992,

            LeBlanc  filed  an  answer   and  three  count  counterclaim,

            alleging that the FDIC's refusal to grant LeBlanc an easement

            across  Falmouth Woods Road violated  state law.   Count I of

            the counterclaim alleged that the FDIC's actions breached the

            implied covenant of good faith  and fair dealing implicit  in

            all contracts made under  Massachusetts law.  See Mass.  Gen.
                                                          ___

            L.  ch. 106    1-203 (1990).   Count  II alleged  a breach of

            contract under Mass. Gen.  L. ch. 106   9-106,  which governs

            secured transactions.   Count III  raised claims in  tort for

            intentional infliction of emotional distress.

                      On  February 17, 1993,  before a  magistrate judge,

            the FDIC  moved for judgment  on the  pleadings, pursuant  to

            Fed. R. Civ. P.  12(c), and argued that the  federal estoppel



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                                          7















            doctrine  established  by  the  Supreme Court's  decision  in

            D'Oench, Duhme  &amp; Co. v. FDIC, 315 U.S. at 447, and 12 U.S.C.
            _____________________________

               1823(e) barred  LeBlanc  from asserting  his defenses  and

            three  counterclaims.  LeBlanc contended that neither section

            1823(e)  nor  the common  law  D'Oench  doctrine it  codifies
                                           _______

            preempted  his  counterclaims.   He  maintained  that,  under

            Massachusetts  common law  and  the  Uniform Commercial  Code

            ("UCC"), the duties allegedly breached by the  FDIC arose out

            of the performance and administration of the note and not out

            of an unauthorized side agreement.

                      In  a May  13,  1993, order,  the magistrate  judge

            allowed,  in part, and denied, in part, the FDIC's Rule 12(c)

            motion.    The court  found  that  the principal  allegations

            raised by LeBlanc's counterclaims rested on an "implied" and,

            under the D'Oench doctrine, unenforceable "agreement that the
                      _______

            FDIC affirmatively assist LeBlanc  . . . in [his]  attempt to

            acquire  a right  of  way over  the  road."   It,  therefore,

            dismissed  those   allegations  in   counts  I  and   III  of

            appellant's  counterclaim which  relied  on  that  agreement,

            holding  that  all other  allegations,  taken  as true,  were

            legally sufficient to survive Rule 12(c).

                      The  magistrate  judge  ruled  that   count  II  of

            appellant's counterclaim,  which was  based on Mass.  Gen. L.

            ch. 106    9-507  and focused  on the FDIC's  conduct at  the

            August  1991  foreclosure auction,  survived  the Rule  12(c)



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                                          8















            motion  because,  unlike  counts  I  and III,  it  was  based

            exclusively on state law.   She did not, however,  attempt to

            resolve  that   claim  because  she   found  the  information

            available  to  her  insufficient  to  decide  the  commercial

            reasonableness of the FDIC's  foreclosure actions.   Finally,

            the magistrate judge rejected the FDIC's claim that a federal

            common law rule barring LeBlanc's claims should be fashioned.

            She  found  that  LeBlanc's  counterclaim   was  procedurally

            deficient because he failed to seek leave to name the FDIC as

            a counterclaim-defendant in its corporate capacity.

                      On August  13, 1993,  the district court  issued an

            order  accepting  the  Report   and  Recommendation  of   the

            magistrate  judge,  with  two modifications.    It  dismissed

            LeBlanc's  counterclaims against  the FDIC  in its  corporate

            capacity  and reserved  the  issue of  which party  bears the

            burden of proof on matters of "commercial reasonableness" for

            later  determination.  The  FDIC filed  a motion  for summary

            judgment against LeBlanc on July 22, 1994.  

                      On October  27, 1994, the district  court issued an

            order  allowing   summary  judgment  for  the   FDIC  on  its

            affirmative  claim for  the deficiency  due on  the note  and

            post-judgment interest.   The district court  agreed with the

            magistrate  judge's determination  that the  federal estoppel

            doctrine barred  much of LeBlanc's answer  and concluded that

            "LeBlanc  has  presented no  defense  that  would excuse  his



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                                          9















            default."  The court also granted the FDIC's summary judgment

            motion with respect to appellant's  three-count counterclaim.

            It   reaffirmed  the   magistrate  judge's   conclusion  that

            appellant's counterclaims were barred to the extent that they

            were  based on  a  side agreement  or  affirmative duty  and,

            consequently,  only considered  the  state  law issues  which

            survived the magistrate judge's order.  

                      Without  deciding  whether   D'Oench  and   section
                                                   _______

            1823(e) permit  claims based on terms implied in an agreement

            as  a matter  of  state law,  the  district court  held  that

            appellant's allegations,  even if true, did  not constitute a

            breach  of  the  implied  covenant of  good  faith  and  fair

            dealing.   Noting  that Massachusetts law  does not  impose a

            duty to enter into a contract, the court rejected appellant's

            claims that it was inappropriate for the FDIC to compete with

            LeBlanc or to  use the fee interest in Falmouth Woods Road as

            a bargaining chip in its negotiations with appellant.

                      The court  also held that LeBlanc's  claim that the

            FDIC failed  to handle  its secured collateral,  the Prospect

            Hills parcel, in accordance with  Mass. Gen. L. ch. 106    9-

            507, could  not stand  because that  statute does  not govern

            secured  transactions  where the  security is  real property.

            Finally,  the  district  court  granted  summary judgment  on

            appellant's  intentional  infliction  of  emotional  distress

            counterclaim.   It concluded that  the FDIC's actions did not



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            amount to extreme and  outrageous behavior within the meaning

            of Massachusetts  tort law,  though it acknowledged  that the

            FDIC's actions in attempting to trade an easement in Falmouth

            Woods   Road  "may  [have]  constitute[d]  rather  hard-nosed

            business."   The court entered  its judgment on  May 8, 1995,

            and this appeal followed.

                                         III.
                                         III.

                                      DISCUSSION
                                      DISCUSSION
                                      __________

                      We review  the  district court's  grant of  summary

            judgment de  novo, EEOC v.  Green, 76 F.3d  19, 23 (1st  Cir.
                     __  ____  ______________

            1996), but may affirm on any independently sufficient ground.

            Mesnick v. Gen. Elec. Co., 950 F.2d 816, 822 (1st Cir. 1991),
            _________________________

            cert. denied, 504 U.S. 985  (1992); see also Fed. R.  Civ. P.
            _____ ______                        ___ ____

            56(c).    We   do  not  consider  the   issues  presented  by

            appellant's intentional infliction  of emotional distress and

            Mass.  Gen. L.  ch. 106,    9-507  counterclaims.   Appellant

            failed  to  heed  our  oft-articulated  warning  that "issues

            averted  to in  a perfunctory  manner, unaccompanied  by some

            effort at  developed argumentation,  [will be] deemed  waived

            for  purposes of  appeal."   Grella v.  Salem Five  Cent Sav.
                                         ________________________________

            Bank,  42 F.3d  26, 36  (1st Cir.  1994); see  also Executive
            ____                                      ___  ____ _________

            Leasing v. Banco Popular De Puerto  Rico, 48 F.3d 66, 68 (1st
            ________________________________________

            Cir.)(On  appeal,  "[w]e will  not  rely  upon arguments  and

            allegations  that are  developed only  in the  district court

            pleadings."), cert. denied, 116 S. Ct. 171 (1995).  
                          _____ ______



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                                          11















                      Nor  do  we consider  those  counterclaim  I issues

            which  the  district  court  held hinged  on  an  affirmative

            obligation  or   implied  agreement  that   the  FDIC  assist

            appellant  in obtaining  a right of  way over  Falmouth Woods

            Road.  Appellant did not  object to the magistrate's decision

            and,  therefore,  waived his  right  to  appeal the  district

            court's order on this  question.  See Henley Drilling  Co. v.
                                              ___ _______________________

            McGee,  36  F.3d 143,  150-51 (1st  Cir.  1994); see  also 28
            _____                                            ___  ____

            U.S.C.    636 (b)(1)(C);  Fed. R. Civ. P.  72(b).  We concern

            ourselves  solely  with  LeBlanc's  defense  to  the   FDIC's

            affirmative claims and  those counterclaim I  arguments which

            the district court held survived D'Oench and section 1823(e).
                                             _______

            For the sake of convenience,  we use "FDIC" to refer  to both

            the  FDIC in its capacity as receiver and its predecessors in

            interest.

                  LeBlanc's Defense to the FDIC's Affirmative Claims
                  LeBlanc's Defense to the FDIC's Affirmative Claims
                  __________________________________________________

                      The district court granted summary judgment on  the

            FDIC's claim for the  deficiency due on the $750,000.00  note

            and entered judgment in  favor of the FDIC  in the amount  of

            $686,942.78, plus post-judgment interest.  On appeal, LeBlanc

            argues that the district  court erroneously held that D'Oench
                                                                  _______

            and section  1823(e) barred  his  defense that  the FDIC,  as

            receiver  of NBNE,  breached  its obligation  to perform  the

            terms of  the loan agreement in good faith, see Mass. Gen. L.
                                                        ___

            ch. 106    1-203, by competing with him for  the fee interest



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                                          12















            in  Falmouth Woods  Road.   He contends  that his  defense of

            economic coercion concerns the  value of the $750,000.00 note

            and not his failed attempts to secure a right of way.   

                      On this point, we discern no error in the  district

            court's analysis.  Without deciding whether breach of implied

            covenant of good faith and fair dealing claims  are generally

            precluded  by D'Oench,  we hold  that the  particular defense
                          _______

            advanced in this case is  barred.  Appellant's defense  rests

            on an unwritten or implied agreement regarding a right of way

            over Falmouth Woods Road and not the terms of the $750,000.00

            note. 

                      The   common   law   D'Oench   doctrine   "prevents
                                           _______

            plaintiffs  from  asserting  as  either a  claim  or  defense

            against the  FDIC oral agreements or  'arrangements.'"  Adams
                                                                    _____

            v.  Zimmerman, 73  F.3d  1164, 1168  (1st Cir.  1996)(quoting
            _____________

            Timberland Design,  Inc. v.  First Serv.  Bank for Sav.,  932
            _______________________________________________________

            F.2d 46, 48-50 (1st Cir. 1991)).  Its statutory codification,

            section 1823(e), "bars anyone from asserting against the FDIC

            any  'agreement' that is not  in writing and  is not properly

            recorded in  the  records of  the bank."   Id.;  see also  12
                                                       ___   ___ ____

            U.S.C.     1823(e).    Section 1823(e),  as  amended  by  the

            Financial  Institutions Reform, Recovery, and Enforcement Act

            (FIRREA), provides:

                      No agreement  which tends to  diminish or
                      defeat the interest of the Corporation in
                      any  asset  acquired  by  it  under  this
                      section  or section  1821 of  this title,


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                      either  as  security  for  a loan  or  by
                      purchase  or as  receiver of  any insured
                      depository  institution,  shall be  valid
                      against   the  Corporation   unless  such
                      agreement --  (1) is in  writing, (2) was
                      executed  by  the depository  institution
                      and  any  person   claiming  an   adverse
                      interest   thereunder,    including   the
                      obligor,   contemporaneously   with   the
                      acquisition   of   the   asset   by   the
                      depository institution,  (3) was approved
                      by   the  board   of  directors   of  the
                      depository   institution   or  its   loan
                      committee,   which   approval  shall   be
                      reflected in the minutes of said board or
                      committee,    and     (4)    has    been,
                      continuously,  from  the   time  of   its
                      execution,  an  official  record  of  the
                      depository institution.

            12 U.S.C.   1823(e).  Though there is some disagreement as to

            whether  D'Oench  and  section  1823(e)  should  be  read  as
                     _______

            coextensive, see Adams,  73 F.3d at  1168-69 n.2, all  courts
                         ___ _____

            agree that  they serve the  same purpose: to  "prohibi[t] all

            secret  agreements that tend to make  the FDIC susceptible to

            fraudulent  arrangements."  Timberland  Design, Inc. v. First
                                        _________________________________

            Serv. Bank for Sav., 932 F.2d 46, 48 (1st Cir. 1991).  
            ___________________

                      The  scope of  agreements precluded by  D'Oench and
                                                              _______

            section  1823(e) is expansive.   See Adams, 73  F.3d at 1169.
                                             ___ _____

            It  includes  promises  to  perform, as  well  as  fraudulent

            misrepresentations  or  warranties,   whether  the  FDIC  had

            knowledge of the  fraud or misrepresentation  at the time  it

            acquired the asset or not.  Langley v. FDIC, 484 U.S. 86, 91-
                                        _______________

            94 (1987).  Additionally, it embraces both affirmative claims





                                         -14-
                                          14















            and defenses and  extends to arguments  asserted in terms  of

            contract or tort.  Timberland, 932 F.2d at 49-50.
                               __________

                      LeBlanc's  main  attack  is  based  on  the  FDIC's

            failure to actively assist him in obtaining a Falmouth  Woods

            Road  easement upon  taking  control of  BNE's  assets.   The

            problem  with  this  is that  nothing  in  the  terms of  the

            $750,000.00  note can be  read to create  such a duty  on the

            part  of the  FDIC.    LeBlanc,  in  fact,  admits  that  the

            $750,000.00  note was contingent  neither upon  his obtaining

            nor  the  FDIC or  its  predecessors  providing an  easement.

            Accordingly, this attempt to shift the risk LeBlanc knowingly

            assumed  when  he  purchased the  land-locked  Prospect Hills

            property  to  the  FDIC, and  consequently,  to  unsuspecting

            creditors  and depositors,  must fail.   See  Timberland, 932
                                                     ___  __________

            F.2d at 48.  Permitting appellant to proceed on the  basis of

            an  unrecorded  agreement  would  undermine  the accuracy  of

            NBNE's  records and  further  complicate the  FDIC's task  of

            valuing NBNE's assets.  Compare Desmond v. FDIC, 798 F. Supp.
                                    _______ _______________

            829, 839 (D. Mass. 1992); see also Langley, 484 U.S. at 92.  
                                      ___ ____ _______

                       

             LeBlanc's Counterclaim for Breach of an Implied Covenant of
             LeBlanc's Counterclaim for Breach of an Implied Covenant of
             ___________________________________________________________

                             Good Faith and Fair Dealing
                             Good Faith and Fair Dealing
                             ___________________________

                      LeBlanc avers  that the FDIC, as  receiver of NBNE,

            breached  its   obligation  to  perform  the   terms  of  the

            $750,000.00 loan  agreement in  good faith in  three regards.



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                                          15















            He  contends that the FDIC deprived  him of the fruits of his

            bargain, see  Anthony's Pier  Four, Inc. v.  HBC Assoc.,  411
                     ___  _________________________________________

            Mass.  451, 471 (1991), by  withholding funds due  him on the

            DDM  construction project  and by  making an  easement across

            Falmouth Woods Road contingent  upon provision of  additional

            collateral  or a  reduction in  note principal  and utilizing

            artificially   low   appraisals   of   the   Prospect   Hills

            development.   He  also alleges  that the  FDIC's failure  to

            extend  him an  easement  across Falmouth  Woods Road  during

            work-out negotiations constitutes a breach ofthe agreement.  

                      There is an  argument that D'Oench  precludes these
                                                 _______

            claims,  at least  to  the extent  that  they rely  upon  any

            specifics in  the negotiations  between the borrower  and the

            bank, even if the specifics are not formally agreements.  See
                                                                      ___

            Langley, 484  U.S. at  91-94.   But  even if  we assume  that
            _______

            D'Oench does not  bar LeBlanc's breach of an implied covenant
            _______

            of  good faith and fair  dealing counterclaims --  and, as we

            indicated  in  the previous  section,  we  are certainly  not

            deciding that question here -- appellant has not convinced us

            that there  is any  general obligation under  state law  that

            required  the bank (in the  absence of an  agreement) to take

            the affirmative  steps appellant now claims  should have been

            taken.  

                      We detect  no bad faith  in the FDIC's  decision to

            withhold  DDM project  funds or  to make  an  easement across



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                                          16















            Falmouth Woods Road contingent upon  additional collateral or

            a  reduction in principal.   Though the  FDIC's dealings with

            LeBlanc were arguably "hard-nosed," there is no evidence that

            the FDIC's actions  deprived LeBlanc of  the benefits of  the

            loan  agreement.   See  Anthony's  Pier,  411 Mass.  at  471.
                               ___  _______________

            LeBlanc neither disputes that he received the proceeds of the

            $750,000.00  loan nor  suggests  that the  FDIC took  adverse

            actions on the note before his November 1992 default.  

                      LeBlanc's arguments are  complaints about the terms

            on which the FDIC proposed to  execute or continue agreements

            with him.  But  having engaged in rigorous bargaining  of his

            own,  LeBlanc cannot now contend  that it was  unfair for the

            FDIC to bargain  for more security  on the $750,000.00  note.

            The  FDIC had  no duty  at all  under the  loan agreement  to

            extend appellant an easement, let alone to provide him one on

            terms which were more  favorable to him.  Nothing  prevents a

            party to a bargain from engaging in  hard-nosed dealings, see
                                                                      ___

            Schwanbeck v. Federal-Mogul Corp., 31 Mass. App. Ct. 390, 450
            _________________________________

            (1991), rev'd on other grounds, 412 Mass. 703, 706 (1992), or
                    _____ __ _____ _______

            even from attempting to capture opportunities foregone at the

            formation of one contract  -- i.e., the loan agreement  -- by

            negotiating  another  -- i.e.,  the  easement.   See  Burton,
                                                             ___

            Breach of Contract and the Common Law Duty to Perform in Good
            _____________________________________________________________

            Faith, 94  Harv. L. Rev. 369, 372-73 (1980).  As the district
            _____

            court astutely  observed,  "the  FDIC  owned  something  that



                                         -17-
                                          17















            LeBlanc  wanted, and it was  permissible for the  FDIC to use

            that 'something' as a bargaining chip in order to obtain what

            it wanted, namely more security on the $750,000.00 note."  

                      Finally,  we reject  LeBlanc's claim that  the FDIC

            breached its obligation to perform in good faith during work-

            out negotiations with appellant.  Massachusetts law implies a

            duty  of  good faith  and  fair  dealing  in  every  existing

            contract.  See Anthony's  Pier, 411 Mass. at 472;  Fortune v.
                       ___ _______________                     __________

            Nat'l Cash  Register Co., 373 Mass. 96 (1977); Schwanbeck, 31
            ________________________                       __________

            Mass.  App.  Ct.  at 397  n.6.    At  the time  the  work-out

            negotiations occurred, however, there was no contract between

            the FDIC and LeBlanc.   LeBlanc's November 1992 default ended

            the contractual relationship he  theretofore enjoyed with the

            FDIC.   We, therefore, hold that LeBlanc's claim fails to the

            extent that it relies on the loan agreement.  That claim also

            fails  to  the  extent that  it  rests  on  an obligation  to

            negotiate  new contracts in good faith.  We are not convinced

            that  the  loan  agreement  contained  any  such  contractual

            obligation, see  Schwanbeck v. Federal-Mogul Corp., 412 Mass.
                        ___  _________________________________

            703,  706 (1992),  and  do not  find,  for that  matter,  any

            evidence  that the  FDIC entered  into work-out  negotiations

            with an ulterior purpose or bad motives.          

                                         IV.
                                         IV.

                                      CONCLUSION
                                      CONCLUSION
                                      __________





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                      For the foregoing  reasons, we affirm the  district

            court's grant of summary  judgment.  The judgment sum  of the

            district court is affirmed.  There will be added to that sum,

            $686,942.78, such post-judgment interest as is due.  













































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